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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

 ROTHSCHILD BROADCAST                 )
 DISTRIBUTION SYSTEMS, LLC,           )
                                      )
               Plaintiff,             )
                                      )
        v.                            )   Civil Action No. 1:20-cv-00396-MN
                                      )
 PROJECT PANTHER US, LLC,             )
                                      )
              Defendant.              )



         OPENING BRIEF IN SUPPORT OF PROJECT PANTHER US, LLC’S
        MOTION TO DISMISS PLAINTIFF’S FIRST AMENDED COMPLAINT




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       Defendant Project Panther US, LLC hereby moves, pursuant to Fed. R. Civ. P. 12(b)(6), to

dismiss the First Amended Complaint (“FAC”) (D.I. 9) filed by Plaintiff Rothschild Broadcast

Distribution Sys., LLC (“Rothschild”) for failure to state a claim upon which relief can be granted.

I.     INTRODUCTION

       A.      Statement of Facts

       Rothschild is asserting U.S. Patent No. 8,856,221 (“the ‘221 patent”) (D.I. 9 Ex. A) and

accuses Defendant, which provides a “music streaming platform” under the name TIDAL

(“TIDAL”), of allegedly “practic[ing] a method of storing (e.g., cloud storage) media content (e.g.

and recorded music) and delivering requested media content to a consumer device.” D.I. 9 ¶ 25.

       TIDAL moved to dismiss Rothschild’s Complaint on May 20, 2020, and Rothschild

responded on June 3, 2020 by filing the FAC. The FAC includes a few screenshots from the TIDAL

website, but does not indicate Rothschild operated or evaluated the TIDAL system. D.I. 9. Without

pointing to any particular configuration, feature, or functionality, the FAC parrots the patent claim

language by alleging that the accused product “necessarily includes a receiver configured to

receive a request message including data indicating requested media content (e.g., the Product

must have infrastructure to receive a request to store recorded media content or to stream recorded

media content on a smartphone; additionally, the request message must contain data that identifies

the content to be stored or streamed).” Id. at ¶ 26. Rothschild also alleges the accused system

receives a message including data specifying the length of time to store media content only

referencing the renewable subscription plan for TIDAL’s customers. Id. at ¶ 31.

       B.      The ‘221 Patent

       The ’221 patent relates generally to the field of “on-demand storage and delivery of media

content.” ’221 patent, col. 1, lines 26-27. The patent’s background section identifies two possible



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concerns about streaming services, both of which are not technological in nature. First, the

specification notes that some on-demand streaming service plans charge a single flat-rate monthly

subscription fee, regardless of whether a consumer watches many videos or just a few per month,

while some others charge a “set fee for streaming a specific episode of a television program”

regardless of the length of the show. Id. at col. 1, lines 47-66. The patent also identifies a possible

scenario where consumers using a streaming service may request a video that is not yet available,

but then may lose interest in watching the video by the time that the service begins hosting that

video for steaming. Id. at col. 2, lines 3-12. The specification concludes that “[t]here is a need in

the art for an on-demand media storage and streaming system that tailors cost to each consumer

based on the requested media content and each consumer’s needs.” Id. at col. 2, lines 13-16.

       The summary of the invention section of the ’221 patent specification describes the

“present invention” as “advantageously provid[ing] a method and system for on-demand storage

and delivery of media content.” Id. at col. 2, lines 20-22. The patent discloses a “storage and

streaming system” that includes one or more “consumer devices” and a “network” of servers that

can be in a “cloud-computing environment.” Id. at col. 3, lines 43-55. According to the patent, the

“consumer device 12” may communicate with “network 18 using communication protocols known

in the art” and may include a processor “for executing computer program instructions stored in

memory 26, as is well known in the art.” Id. at col. 3, lines 47-52 & lines 66-67. A “broadcast

server” may store “media content existence” information that “may indicate whether the media

content exist[s], e.g., media content [is] not found because user input the wrong movie title.” Id.

at col. 4, lines 23-41. A “remote server” may store media content “for a specific length of time.”

Id. at col. 4, lines 42-55. The patent also describes that a consumer’s “cost amount” for using the

on-demand system can be based on the “amount of playback time corresponding to the media



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content” (i.e., how long the video is) or “the length of time the consumer wants to store the

requested content.” Id. at col. 8, lines 20-25.

        The specification of the ‘221 patent describes the consumer device and servers as including

conventional, generic components, i.e., processor, transmitters, receivers, and memory. The patent

describes no specific configuration for the servers and, in fact, provides no information at all aside

from high-level, generic functionality of the components. See id. at col. 10, lines 12-27).

        The ‘221 patent includes 13 claims. The FAC explicitly asserts infringement of only one

claim, independent claim 7, which recites:

        A method for storing media content and delivering requested media content to a
             consumer device, the method comprising:
        receiving a request message including media data indicating requested media
             content and a consumer device identifier corresponding to the consumer device;
        determining whether the consumer device identifier corresponds to a registered
             consumer device; and
        if it is determined that the consumer device identifier corresponds to the registered
             consumer device, then: determining, whether the request message is one of a
             storage request message and a content request message; and
        if the request message is the storage request message, then determining whether the
             requested media content is available for storage; and
        if the request message is the content request message, then initiating delivery of the
             requested media content to the consumer device; wherein the media data
             includes time data that indicates a length of time to store the requested media
             content; and
        the first processor is further configured to determine whether the requested media
             content exists and
        if the processor determines that the requested' media content exists, the processor
             is further configured to determine whether the requested media content is
             available and whether there are restrictions associated with the requested media
             content that prevent the requested media content from being delivered to the
             consumer device.

Id. at col. 11, line 43 to col. 12, line 24. Notably, neither claim 7 nor any other claim is specifically

directed to “streaming services,” as discussed in the background section of the specification,

particularly with respect to a consumer’s being charged the same amount regardless of the duration

of a video or a consumer’s losing interest waiting for a video to be made available.


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        Claim 7 recites a “method” that includes “receiving a requested message including media

data indicating requested media content … wherein the media data includes time data that

indicates a length of time to store the requested media content” (emphasis added). According

to the patent specification, the consumer specifies the length of time for storing the requested media

content. ‘221 patent, col. 7, line 64 to col. 8, line 3.

        C.      Summary of the Argument

        First, the ’221 patent is invalid under 35 U.S.C. § 101 and Alice Corp. Pty. Ltd. v. CLS Bank

International, 573 U.S. 208 (2014), and its progeny. The patent claims are directed to an abstract

idea, namely enabling subscribers to request available media content or have it stored for a specified

period of time. The claims of the ‘221 patent are similar to claims in numerous other patents that

have been held patent-ineligible by the Federal Circuit and this Court. Indeed, the ’221 patent itself

includes an admission that the purported invention is based on generic and conventional computing

techniques and components. The claim limitations add nothing that transforms the claims into

significantly more than the abstract idea to which they are directed. Significantly, Rothschild makes

no plausible allegations that the claims of the ‘221 patent are directed to an improvement on

computer and communications technology. The improper conclusory arguments that Rothschild

added in the FAC do not change that the ’221 patent claims are directed to ineligible subject matter.

        Second, asserted claim 7, which recites both structural system elements and method steps

for using the system, is facially invalid for violating the well-established rule that mixing statutory

classes within a claim renders it indefinite under 35 U.S.C. § 112 ¶ 2.

        Third, the allegations of Rothschild’s FAC are insufficient to plead a plausible claim for

patent infringement regarding the TIDAL system. The FAC fails to plead sufficient facts to assert

that the claim limitation of “indicat[ing] a length of time to store” media content is met by the



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accused TIDAL system. It is not plausible that the cited monthly subscription feature corresponds

to the required claim element of the customer’s indicating a length of time to store media content.

II.    ARGUMENT

       A.      Legal Standards

       The standard of review is the two-part analysis applicable to motions made pursuant to

Fed. R. Civ. P. 12(b)(6). See Blue Spike LLC v. Comcast Cable Comm’ns, LLC, No. 19-159-LPS-

CJB, 2019 U.S. Dist. LEXIS 152005, at *2 (D. Del. Sept. 6, 2019); RainDance Techs., Inc. v. 10X

Genomics, Inc., No. 15-152-RGA, 2016 WL 927143, at *2 (D. Del. Mar. 4, 2016). First, the Court

separates the factual and legal elements of a claim, accepting “all of the complaint's well-pleaded

facts as true, but [disregarding] any legal conclusions.” Fowler v. UPMC Shadyside, 578 F.3d 203,

210-11 (3d Cir. 2009). Second, the Court determines “whether the facts alleged in the complaint

are sufficient to show that the plaintiff has a ‘plausible claim for relief.’” Id. at 211 (quoting

Ashcroft v. Iqbal, 556 U.S. 662, 679 (2009)). A plausible claim does more than merely allege

entitlement to relief; it must also demonstrate the basis for that “entitlement with its facts.” Id.

Thus, a claimant's “obligation to provide the ‘grounds’ of his ‘entitle[ment] to relief requires more

than labels and conclusions, and a formulaic recitation of the elements of a cause of action will not

do.’” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007) (alteration in original) (quoting Conley

v. Gibson, 355 U.S. 41, 47 (1957)). In assessing the plausibility of a claim, the court must

“‘construe the complaint in the light most favorable to the plaintiff, and determine whether, under

any reasonable reading of the complaint, the plaintiff may be entitled to relief.’” Fowler, 578 F.3d

at 210 (quoting Phillips v. Cnty. of Allegheny, 515 F.3d 224, 233 (3d Cir. 2008)).

       With regard to an allegation of direct infringement, a plaintiff needs to have pleaded facts

that plausibly indicate that an accused instrumentality practices each of the limitations asserted in



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the relevant claims. See Blue Spike, 2019 U.S. Dist. LEXIS 152005, at *3; RainDance Techs.,

2016 WL 927143, at *2-3. If, after reading a complaint, the Court cannot conclude that it is

plausible that the accused infringer’s product reads on a limitation of an asserted claim of a patent-

in-suit, then it cannot be plausible that the accused infringer actually infringes that patent claim.

Modern Telecom Sys., LLC v. TCL Corp., No. 17-583-LPS-CJB, 2017 WL 6524526, at *2 (D. Del.

Dec. 21, 2017) (citing cases).

       Patent eligibility is a question of law that may be resolved on the pleadings. As the Federal

Circuit explained, patent eligibility “may be, and frequently has been, resolved on a Rule 12(b)(6)

or (c) motion where the undisputed facts . . . require a holding of ineligibility under the substantive

standards of law.” SAP Am., Inc. v. InvestPic, LLC, 898 F.3d 1161, 1166 (Fed. Cir. 2018); see also

WhitServe LLC v. Donuts Inc., 390 F. Supp. 3d 571, 575 (D. Del. 2019), aff'd, Nos. 2019-2240,

2019-2241, 2020 U.S. App. LEXIS 11396 (Fed. Cir. Apr. 10, 2020) (noting it is “well-settled” to

determine patent eligibility at motion to dismiss stage and collecting cases).

       Moreover, it is appropriate for a court to resolve patent eligibility before claim construction.

As the Federal Circuit explained, “addressing section 101 at the outset of litigation will have a number

of salutary effects,” including conserving judicial resources and exposing “basic deficiencies” in a

complaint before the parties expend excess time and money. Ultramercial, Inc. v. Hulu, LLC, 772

F.3d 709, 718-19 (Fed. Cir. 2014) (internal quotation marks omitted). When, as here, the claims

“disclose[] no more than an abstract idea garnished with accessories and there [i]s no reasonable

construction that would bring [them] within the patentable subject matter,” a court should resolve

patent eligibility before claim construction. Id. at 719 (internal quotation marks omitted). Further,

when it is clear even without claim construction that a patent does not contain details about how

computer components are “‘manipulated’ or otherwise programmed to yield results . . . no formal



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claim construction is required.” Joao Control & Monitoring Sys., LLC v. Telular Corp., 173 F.

Supp. 3d 717, 725 (N.D. Ill. 2016).

        To evaluate patent eligibility, a court first must determine whether a claim is “directed to”

a patent-ineligible concept, such as an abstract idea (“step one”). Alice, 573 U.S. at 217; Internet

Patents Corp. v. Active Network, Inc., 790 F.3d 1343, 1346 (Fed. Cir. 2015); Affinity Labs of Texas,

LLC v. DIRECTV, LLC, 838 F.3d 1253, 1257 (Fed. Cir. 2016) (step one looks at the “focus of the

claimed advance over the prior art” to determine if the claim’s “character as a whole” is to ineligible

subject matter). For example, a claim is abstract when the language “is purely functional in nature

rather than containing the specificity necessary to recite how the claimed function is achieved.”

British Telecomms. PLC v. IAC/InterActiveCorp, 381 F. Supp. 3d 293, 305 (D. Del. 2019). If the

claim is directed to a patent-ineligible concept, the court then must “consider the elements of each

claim both individually and ‘as an ordered combination’ to determine whether the additional

elements ‘transform the nature of the claim’ into a patent-eligible application” that is significantly

more than a claim to the abstract idea (“step two”). Id. (quoting Mayo Collaborative Servs. v.

Prometheus Labs., Inc., 566 U.S. 66, 78-79 (2012)). This second step is satisfied when the elements

“involve more than performance of ‘well-understood, routine, [and] conventional activities

previously known to the industry.’” Berkheimer v. HP Inc., 881 F.3d 1360, 1367 (Fed. Cir. 2018).

An abstract idea itself, “no matter how beneficial,” cannot serve as the inventive concept for step

two. Citrix Sys., Inc. v. Avi Networks, Inc., 363 F. Supp. 3d 511, 523 (D. Del. 2019).

        35 U.S.C. § 112 requires a patent applicant to “particularly point out and distinctly claim

the subject matter” regarded as the applicant’s invention. A patent claim is indefinite if, “viewed

in light of the specification and prosecution history, [it fails to] inform those skilled in the art about

the scope of the invention with reasonable certainty.” Nautilus, Inc. v. Biosig Instruments, Inc.,



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572 U.S. 898, 910 (2014). The Court can determine that a patent claim is invalid as indefinite at

the motion to dismiss stage. In re TLI Comm’ns LLC Patent Litig., 87 F. Supp. 3d 773, 804-05

(E.D. Va. 2015), aff’d, 823 F.3d 607 (Fed. Cir. 2016). Further, the Court cannot correct this ground

of invalidity. See Rembrandt Data Techs., LP v. AOL, LLC, 641 F.3d 1331, 1340 (Fed. Cir. 2011)

(“[C]ourts may not redraft claims, whether to make them operable or to sustain their validity.”)

(quoting Chef Am., Inc. v. Lamb-Weston, Inc., 358 F.3d 1371, 1374 (Fed. Cir. 2004)).

       B.      The ’221 Patent Claims Are Invalid Under § 101 as a Matter of Law

       The claims of the ’221 patent are directed to the abstract idea of enabling subscribers to

request available media content or have it stored for a specified period of time. The recited

limitations do not recite anything unconventional that would amount to significantly more than the

abstract idea itself. The specification confirms that the “invention” is directed to purely functional

limitations, namely applying an abstract concept to a generic computer network.

               1.      Alice Step One: The ’221 Patent Claims Are Directed to the Abstract
                       Idea of Requesting to Receive or Store Media Content

       The Court’s inquiry under 35 U.S.C. § 101 begins by “looking at the ‘focus’ of the claims,

their ‘character as a whole,” to assess whether they are directed to an abstract idea. Electric Power

Grp., LLC v. Alstom S.A., 830 F.3d 1350 (Fed. Cir. 2016). For this step, “the specification must

always yield to the claim language” when identifying “the true focus of a claim.” ChargePoint,

Inc. v. SemaConnect, Inc., 920 F.3d 759, 766 (Fed. Cir. 2019).

                       a.      The Claims Recite Functional Language and a Generic
                               “Processor” to Describe a Common Business Practice

       As set forth in its preamble, claim 7 is directed to “[a] method for storing media content

and delivering requested media content to a consumer device.” ’221 patent, col. 11, lines 43-44.

The summary of the invention characterizes “[t]he present invention” as “a method and system for



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on-demand storage and delivery of media content.” Id. at col. 2, lines 20-22. This is the focus of

the claimed advance over the prior art and is based on the claims’ character as a whole.

       The recited method of claim 7 involves the following steps: (a) receiving messages from

consumers requesting content; (b) determining whether the consumer is using a registered

consumer device; (c) determining whether the consumer has sent a request for immediate delivery

or for storage; (d) if the consumer is registered and is requesting to receive content, delivering the

content if it is available and not restricted; and (e) if the consumer is registered and is requesting

to have content stored, storing the content if it is available, for an amount of time specified by the

consumer. Id. at col. 11, line 43 to col. 12, line 24. Thus, the claim recites generic, functional

outcomes such as “receiving,” “determining,” “delivering,” and “storing,” but does not describe

how to carry out these functions in a non-abstract way. None of these generically recited functions

can be considered in improvement on computer and communications technology. The claim recites

that if the consumer is authorized and the content is available, then the consumer can receive it or

have it stored. Courts have rejected such functional claiming under § 101. See British Telecomms.,

381 F. Supp. 3d at 305-07.

       The claims of the ‘221 patent recite that steps are performed by a generic “processor,” but

a human user easily could perform the same functions. See, e.g., ’221 patent, col. 2, lines 25-33.

To illustrate this point, in Rothschild’s prior litigation over the same patent, the defendants created

a chart comparing the claims of the ‘221 patent to steps that a video store clerk performed when

customers rented videos from the store. See Ex. A, Memorandum in Support of Motion to Dismiss

in Rothschild Broad. Distrib. Sys., LLC v. VUDU, Inc., No. 6:15-cv-00233-RWS-JDL (E.D. Tex.

filed Mar. 19, 2015), at 14-15. Each step or function of the claims of the ‘221 patent directly

corresponds to a longstanding business practice, which is performed on a generic “processor.” See



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Elec. Comm’n Techs., LLC v. ShoppersChoice.com, LLC, No. 2019-1587, 2020 U.S. App. LEXIS

15423, at *6 (Fed. Cir. May 14, 2020) (“Claims . . . directed to longstanding commercial practices

do not pass step one of the two-part § 101 test.”).

                       b.      Case Law of this Court and the Federal Circuit Confirm That
                               the ’221 Patent’s Claims Are Directed to an Abstract Idea

       Although inventions directed to improving how to stream media may be technological in

nature, claims directed simply to when to authorize media streaming have been found to be patent

ineligible as abstract. For example, in Affinity Labs of Texas, LLC v. Amazon.com Inc., 838 F.3d

1266 (Fed. Cir. 2016), the claim was “directed to a network-based media system with a customized

user interface, in which the system delivers streaming content from a network-based resource upon

demand to a handheld wireless electronic device having a graphical user interface.” Id. at 1268.

Finding the claim abstract, the Federal Circuit determined that the patent disclosed no particular

mechanism for wireless streaming to a handheld device and that “[t]he purely functional nature of

the claim confirms that it is directed to an abstract idea, not to a concrete embodiment of that idea.”

Id. at 1269. Likewise, the claims of the ’221 patent recite functional steps for storing and delivering

media content, but does not recite any “concrete embodiment” of that idea. Id. The ’221 patent

generically describes computer components that receive and parse requests for delivery or storage

of media content. See also Two-Way Media Ltd. v. Comcast Cable Commc'ns, LLC, 874 F.3d 1329,

1337 (Fed. Cir. 2017) (claim recited “converting,” “routing,” “controlling,” “monitoring,” and

“accumulating records,” but failed to “sufficiently describe how to achieve these results in a non-

abstract way.”).

       Courts also have found that claims directed to making content only selectively accessible

to subscribers over a network are abstract. In Prism Technologies LLC v. T-Mobile USA, Inc., 696

F. App’x 1014 (Fed. Cir. 2017), the Federal Circuit found claims to be abstract that were directed


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to a process of “(1) receiving identity data from a device with a request for access to resources; (2)

confirming the authenticity of the identity data associated with that device; (3) determining

whether the device identified is authorized to access the resources requested; and (4) if authorized,

permitting access to the requested resources.” Id. at 1017. The Federal Circuit recently held that a

telecommunications patent claiming “a system for controlling access to a platform,” namely by

“controlling access by receiving a request and then determining if the request should be granted”

was patent-ineligible, “bare abstract idea.” Ericsson Inc. v. TCL Comm'n Tech. Holdings Ltd., No.

2018-2003, 2020 WL 1856498, at *5-6 (Fed. Cir. Apr. 14, 2020); see also Grecia v. Bank of New

York Mellon Corp., No. 19-CV-2810 (VEC), 2020 WL 1979276, at *1, 5 (S.D.N.Y. Apr. 24, 2020)

(determining that a patent for digital rights management was directed to the abstract idea of storing

information about permission and identity for processing access requests); Smartflash LLC v. Apple

Inc., 680 F. App’x 977, 984 (Fed. Cir. 2017) (“In sum, the asserted claims are all directed to the

abstract idea of conditioning and controlling access to data based on payment, and fail to recite

any inventive concepts sufficient to transform the abstract idea into a patent-eligible invention.”).

       Similar to the patents at issue in Prism Technologies, Ericsson, Grecia, and Smartflash, the

’221 patent teaches and claims selective access to media content. ’221 patent, col. 12, lines 1-2 &

18-22 (“determining whether the consumer device identifier corresponds to a registered consumer

device” and determining “whether there are restrictions associated with the requested media

content”). The specification reinforces the patent’s focus on selective access, in which subscribers

to an on-demand video service are allowed to access media content while non-subscribers are not.

Id. at col. 5, lines 8-10 (“Remote server 16 determines whether the request message is received

from a registered user”). Thus, claims directed to controlling access to online resources are abstract.

       In addition, courts have found that claims pertaining to storing or backing up data are



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abstract. Intellectual Ventures I LLC v. Symantec Corp., 234 F. Supp. 3d 601, 607 (D. Del. 2017)

(patent directed to backing up data is invalid because “institutions have long backed up data in

general” and patent did not improve computer technology itself but merely “rel[ied] on the

ordinary storage and transmission capabilities of computers within a network and appl[ied] that

ordinary functionality in the particular context of remote mirroring.”). aff'd, 725 F. App'x 976 (Fed.

Cir. 2018); Content Extraction & Transmission LLC v. Wells Fargo Bank, Nat’l Ass’n, 776 F.3d

1343, 1348 (Fed. Cir. 2014) (“The concept of data collection, recognition, and storage is

undisputedly well-known. Indeed, humans have always performed these functions.”

       The title indicates that the ’221 patent is directed to “storing broadcast content in a cloud-

based computing environment.” ’221 patent, col. 1, lines 1-3. The claim limitations relating to

storage are basic and broad. The claim elements include determining whether a given request is a

storage request and, if so, determining whether the content is available for storage. Id. at col. 12,

lines 5-10. The added limitation of “a length of time to store the requested media content” does

not render the idea any less abstract. Id. at col. 12, lines 14-15. Patent claims directed to storing

data are abstract, even when performed within computer networks and limited to a “particular

context.” Symantec, 234 F. Supp. 3d at 607.

       The ‘221 patent does not relate to any improvement in computer functionality. The claims

simply provide for selective access to content for subscribers or give subscribers the option to store

content for a specified amount of time, and thus are directed to a patent-ineligible abstract idea.

               2.      Alice Step Two: The Recited Limitations Do Not Transform the
                       Claims into Significantly More than the Abstract Idea

       As the claims are directed to an abstract idea, they are invalid unless they are found to

embody an “inventive concept” that is “significantly more” than the abstract idea, under “step

two.” Alice, 573 U.S. at 217-18. The claims of the ’221 patent are not significantly more than an


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abstract idea. The purported “invention” is claimed through routine, functional steps that do not

improve how a computer functions. The patentee acknowledges that the claimed “media content

system” is generic, comprising any network of servers implemented in hardware and/or software.

Thus, the claims do not amount to significantly more than the abstract idea itself.

                       a.      Each Recited Step of the Claims Merely Describes a
                               Component of an Abstract Idea

       Whether considered individually or collectively, the recited steps of the claims of the ’221

patent do not “do significantly more than simply describe [the] abstract method.” Ultramercial, 772

F.3d at 715. The steps of “receiving” a request, “determining” whether the subscriber is registered,

and “determining” whether the identified media content is available and permitted to be delivered or

stored, merely follow the abstract idea itself. See Citrix, 363 F. Supp. 3d at 523 (holding that the

abstract idea itself cannot serve as the inventive concept). To enable subscribers to request available

media content or have it stored for a specified period of time, the system would need to perform

steps to check if the request were from an authorized subscriber and whether the media content were

available; running checks against information stored in a database is a well-known and routine

computer function. Moreover, the concept of accessing a network using a consumer device to request

and receive information is not inventive. See Affinity Labs, 838 F.3d at 1271-72. The limitation of

storing content for a requested “length of time” is nothing more than the abstract concept itself.

                       b.      The ’221 Patent Claims and Relies on Generic
                               Computers Used in Conventional Ways

       In the context of computer-implemented inventions, there is no inventive concept when

“[n]othing in the claims, understood in light of the specification, requires anything other than [an]

off-the-shelf, conventional [processor networked with generic computers].” Elec. Power Grp., 830

F.3d at 1355; see also Customedia Techs., LLC v. Dish Network Corp., 951 F.3d 1359, 1366 (Fed.



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Cir. 2020) (holding that “already-available computers” will not save a claim under Alice step two);

Voit Techs., LLC v. Del-Ton, Inc., 757 F. App’x 1000, 1003 (Fed. Cir. 2019) (“When claims . . .

are ‘directed to an abstract idea’ and ‘merely requir[e] generic computer implementation,’ they

‘do[] not move into [§] 101 eligibility territory.’”) (citations omitted); Maxon, LLC v. Funai Corp.,

726 F. App’x 797 (Fed. Cir. 2018) (claimed invention directed to “electronic means of increasing

user control over subscription entertainment content” fails Alice step two because it “does not

recite anything beyond the application of routine and conventional computer components.”). The

’221 patent fails to claim patentable subject matter for this reason as well.

       This Court has repeatedly invalidated patents that claim patent-ineligible subject matter and

that purport to apply broadly to various computers, over varied networks, and across disparate fields

of technology. For example, in the Citrix case, this Court found that the patent disclosed that the

invention could operate on “any such network or network topology as known to those ordinarily

skilled in the art” and included an application “which can be any type and/or form of software,”

concluding that the claims included only conventional elements. 363 F. Supp. 3d at 514. The Court

recognized that by touting the general applicability of the invention, the patent specification

undermined the patentee’s argument that it was solving “computer-centric problems with computer-

centric solutions.” Id. In another case before this Court, the patent disclosed that “the invention is

neither limited by the types of computers used as servers, nor the operating systems, web server or

database server application software running on such servers,” and the Court concluded that the

patent claims contained no inventive concept, only generic hardware and software. Versata Software,

Inc. v. NetBrain Techs., Inc., No. 13-676-LPS-CJB, 2015 WL 5768938, at *9 (D. Del. Sept. 30,

2015). In a third case, the Court cited to the specification’s language that “[t]hose versed in the art

will readily appreciate that the invention is . . . applicable to any network architecture facilitating



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messaging between communication devices” as evidence of the ineligibility of the patent’s subject

matter. TriPlay, Inc. v. WhatsApp Inc., No. CV 13-1703-LPS-CJB, 2018 WL 1479027, at *8 (D.

Del. Mar. 27, 2018), aff'd, 771 F. App'x 492 (Fed. Cir. 2019).

       The language in the ’221 patent closely resembles the broad language found in the patents

claiming ineligible subject matter referenced above. The patent states that “[t]he present invention

can be realized in hardware, software, or a combination of hardware and software” and that “[a]ny

kind of computing system, or other apparatus . . . is suited to perform the functions described

herein.” ‘221 patent, col. 10, lines 12-15. The specification of the patent further explains that the

computer may be a specialized or general purpose computer, or that the invention could be

embedded in a “computer program product.” Id. at col. 10, lines 17-23. The “computer” and

“computer program” may be included in devices such as “mobile phones, personal digital assistant

devices, personal computers, . . . digital video recorders, televisions, digital versatile disc players,

among other devices that may communicate via network.” Id. at col. 3, lines 56-60. Significantly,

the patent repeatedly acknowledges that the claimed components function in conventional ways.

See, e.g., id. at col. 3, lines 61-62 (“Consumer device 12 may communicate with network 18 using

communication protocols known in the art.”); id. at col. 3, lines 65-67 (“Processor 24 may include

a central processing unit (CPU) for executing computer program instructions stored in memory

26, as is well known in the art.”). This expansive language describing implementation of the

claimed “invention,” which encompasses hardware, software, and any computing systems,

confirms that the claims of the ’221 patent recite only conventional elements.

       Nothing claimed or disclosed in the ’221 patent transforms the abstract idea, to which the

patent claims are directed, into patent-eligible subject matter. Therefore, the claims of the ’221

patent are invalid, and the Court should dismiss Rothschild’s FAC for failure to state a claim.



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               3.      Rothschild’s Conclusory Statements in the FAC Do Not
                       Remedy the Claims’ Ineligibility

       The FAC adds seven paragraphs (D.I. 9 ¶¶ 15-21), which largely repeat the Background

and Summary of the Invention sections and assert legal conclusions. These new allegations do not

remedy the ineligibility of the claims, and Rothschild’s pronouncements that the patent claims are

“rooted in technology” and “not conventional” do not make them so. Generic statements such as

“the software is tailored to provide functionality to perform recited steps and the processor

configured (and/or programmed) to provide functionality recited throughout the claims (id. at ¶

21) and the patent “solves problems with the art that are rooted in computer technology and that

are associated with electronic transmission, loading, and storage of location information, as well

as automatic provisioning of root guidance” (id. at ¶ 22) are not substantiated, plausible allegations

that support a claim that the ‘221 patent is not ineligible. Further, Rothschild does not plausibly

allege that the claims are not abstract or recite non-conventional features merely by amending its

pleadings to parrot language from Federal Circuit opinions applying § 101. See TrackTime, LLC

v. Amazon.com, Inc., No. 18-1518-MN, 2019 WL 2524779, at *4-5 (D. Del. June 19, 2019);

Dropbox, Inc. v. Synchronoss Techs., Inc., 371 F. Supp. 3d 668, 693–94 (N.D. Cal. 2019)

(dismissing a complaint because its allegations about how a claim is an advancement over the prior

art did not create a factual dispute); Rothschild Digital Confirmation, LLC v. Skedulo Holdings

Inc., No. 3:19-CV-02659-JD, 2020 WL 1307016, at *2 (N.D. Cal. Mar. 19, 2020) (“[A] patentee

cannot avoid dismissal for ineligible claims purely on the basis of conclusory or generalized factual

allegations.”). Moreover, even if the ’221 patent “solves problems with then-existing media

delivery systems,” that does not make the subject matter patent eligible. The idea of a streaming

service is not inventive, and Rothschild has made no plausible allegations that its patent for

streaming media requires computer components and software operating in a non-generic


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manner. Rothschild’s exaggerated claim that its patent involves an improvement in computer

functionality and communication technology is not supported by recited claim elements such as

requesting available media content and storing it for a specified period of time.

               4.      Claim 7 is Representative of the ’221 Patent’s Claims

       In assessing invalidity for lack of patentable subject matter under 35 U.S.C. § 101, a court

may evaluate a representative claim of the patent rather than reviewing each claim or each asserted

claim. See, e.g., Elec. Power Grp., 830 F.3d at 1352. Independent claim 7 is the only claim identified

in the FAC as allegedly infringed; nevertheless, the remaining claims are also invalid for lack of

patentable subject matter. Claim 1, the only other independent claim of the ‘221 patent, is a system

claim that recites structural components, i.e., server and processor, that are configured to perform all

of the same functions stated in independent claim 7. The claims depending from independent claim

7 (and independent claim 1) are directed to corresponding abstract ideas and add only insubstantial

limitations. All of the dependent claims are abstract, similar to claim 7, because they either pertain

to the same concepts already addressed in claim 7 or otherwise add generic concepts and functions.

       C.      Asserted Claim 7 Is Facially Invalid as Indefinite Because It Is an
               Impermissible Mixed Method/System Claim

       Claim 7 includes method steps, such as “determining whether the consumer device

identifier corresponds to a registered consumer device.” The claim also includes structural system

elements, namely, “the first processor is further configured to determine whether the requested

media content exists.”1 Claim 7 is facially invalid as indefinite under 35 U.S.C. § 112 because it

is an impermissible mixed method/system claim. The law is clear that “reciting both an apparatus



       1
         Claim 7 is also invalid as indefinite because there is no antecedent basis for the “first
processor” structural claim element. Energizer Holdings, Inc. v. Int’l Trade Comm’n, 435 F.3d
1366, 1370-71 (Fed. Cir. 2006) (claim is indefinite if a term does not have proper antecedent basis
and is not otherwise present by implication or the meaning is not reasonably ascertainable).
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and a method of using that apparatus renders a claim indefinite under section 112, paragraph 2.

Rembrandt Data Techs., LP v. AOL, LLC, 641 F.3d 1331, 1339 (Fed. Cir. 2011); IPXL Holdings,

LLC v. Amazon.com, Inc., 430 F.3d 1377, 1384 (Fed. Cir. 2005); InterDigital Comm’ns, Inc. v.

ZTE Corp., No. 13-9-RGA, 2014 WL 1620733, at *5 (D. Del. Apr. 22, 2014); Power Integrations,

Inc. v. ON Semiconductor Corp., No. 16-cv-06371-BLF, 2018 WL5603631, at *17-18 (N.D. Cal.

Oct. 26, 2018) (“mixed apparatus and method claims make it unclear as to when infringement

occurs”). Here, a person of ordinary skill would not understand whether performing the recited

steps of the method or providing or making a system with the recited structure would be required

to infringe claim 7. The mixed method/system claim structure is especially problematic where, as

here, the method steps are “divorced from any recited structure.” Id. at *17. The method steps of

claim 7 are independent elements, not functional language associated with a structural element.

       The defects of claim 7 arise solely from the claim language itself. The Court does not need

to engage in claim construction to see that, with respect to this narrow issue, claim 7 includes both

method steps and structural system elements. 360Heros, Inc. v. GoPro, Inc., No. 17-1302-LPS-

CJB, 2020 U.S. Dist. LEXIS 90287, at *4 n.1 (D. Del. May 22, 2020) (“[D]efiniteness is a question

of law for the court.”) (citing H-W Tech., L.C. v. Overstock.com, Inc., 758 F.3d 1329 (Fed. Cir.

2014)). Claim 7 is an impermissible mixed claim, and Rothschild cannot plausibly allege

otherwise. Further, the present situation is distinguishable from cases such as Blackbird Tech v.

Uber Technologies, LLC, No. 19-561 (MN), 2020 U.S. Dist. LEXIS 1310 (D. Del. Jan. 6, 2020),

where the Court stated that it had to construe the claims because the defendants’ indefiniteness

arguments were directed, inter alia, to means-plus-function elements in the asserted claim.

       Rothschild’s FAC fails to state a claim upon which relief can be granted because the

asserted patent claim is facially invalid. Thus the Court should dismiss the FAC with prejudice.



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        D.      The FAC Fails to Plead a Plausible Claim for Patent Infringement

        The Court should also dismiss Rothschild’s FAC for failing to state a claim upon which

relief can be granted because it does plead sufficient facts to support a plausible claim of

infringement—whether direct or indirect infringement2—regarding the accused TIDAL system.

        Asserted independent claim 7 recites a method that includes “receiving a requested

message including media data indicating requested media content … wherein the media data

includes time data that indicates a length of time to store the requested media content”

(emphasis added). According to the patent specification, the consumer specifies the length of time

for storing the requested media content, as follows (‘221 patent, col. 7, line 64 to col. 8, line 3):

        [a] determination is made as to the length of time the requested content is to be
        stored in media database 52 (Step S144). The consumer may indicate in the storage
        request message that the requested media content is to be stored for a particular
        period of time such as two months, one day, or any other specified period of time.

Thus, the consumer selects how long he or she wants particular media content to be stored.

        Rothschild fails to allege in the FAC that the accused TIDAL system receives a message

including data specifying the length of time to store media content; there are no factual allegations

to suggest that the TIDAL system performs this required function. The only reference to the

TIDAL system in the FAC regarding the claim limitation of specifying the length of time to store

media content is the renewable subscription plan for TIDAL’s customers. D.I. 9 ¶ 31 (alleging that

“the user is allowed to store media content for maximum of 30 days as based upon their

subscription level”). However, such a renewable subscription plan, which relates to a customer’s

ability to access the TIDAL system, is irrelevant and not related in any way to the claim


        2
          “Direct infringement under §271(a) occurs where all steps of a claimed method are
performed by or attributable to a single entity.” Akamai Techs., Inc. v. Limelight Networks, Inc.,
797 F.3d 1020, 1022 (Fed. Cir. 2015) (en banc). To assert a claim of indirect infringement, a
plaintiff must allege facts “sufficient to allow an inference that at least one direct infringer exists.”
In re Bill of Lading Transm’n & Proces. Sys. Patent Litig., 681 F.3d 1323, 1336 (Fed. Cir. 2012).
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requirement of specifying the length of time to store media content.

       Nothing in the FAC supports the allegation that customers have the ability to determine the

length of time that media content is stored in the TIDAL system. Merely selecting a subscription

plan does not in itself permit a user to designate how long he or she wants media content stored on

a server in the TIDAL system, nor does it mean that the user sends a request to a server in the

TIDAL system to store media content for a specified length of time. Further, nowhere in the FAC

does Rothschild even attempt to explain how a monthly renewal subscription for accessing the

TIDAL system would correspond to specifying the length of time to store media content on the

system. In fact, Rothschild does not allege in the FAC that media content is removed from the

TIDAL system if a subscription expires or is not renewed.3

       The FAC fails to plead sufficient facts plausibly asserting that the claim limitation of

indicating a length of time to store media content is met by the accused TIDAL system. See Blue

Spike, 2019 U.S. Dist. LEXIS 152005, at *3; RainDance Techs., 2016 WL 927143, at *2-3;

Modern Telecom, 2017 WL 6524526, at *2. It is not plausible that the cited renewable monthly

subscription feature of the TIDAL system corresponds to the required claim element of the

customer’s indicating a length of time to store media content. Having failed to make out a plausible

claim for infringement, Rothschild’s FAC should be dismissed for failure to state a claim.

III.   CONCLUSION

       For the foregoing reasons, TIDAL respectfully requests that the Court dismiss Rothschild’s

FAC in its entirety with prejudice.4



       3
         There is no limited length of time for which media content, e.g., a music file, is stored in
the TIDAL system, and TIDAL’s customers send no requests and make no such determinations of
the time to store media content.
       4
         Epic IP LLC v. Backblaze, Inc., 351 F. Supp. 3d 733, 735 (D. Del. 2018) (dismissing
complaint with prejudice due to patent subject-matter ineligibility).
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Dated: June 17, 2020                      Respectfully submitted,

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                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF TEXAS
                                        TYLER DIVISION


                                              )
    ROTHSCHILD BROADCAST                      )
    DISTRIBUTION SYSTEMS, LLC,                )
                                              )
                             Plaintiff,       )
                                              )       Case No. 6:15-cv-00233-RWS-JDL
                v.                            )
                                              )       JURY TRIAL DEMANDED
    VUDU, INC.,                               )
                                              )
                             Defendant        )
                                              )
                                              )



                        MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM
                                   PURSUANT TO 35 U.S.C. § 101




                                                  VUDU’S MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM
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    I.          INTRODUCTION

                Defendant VUDU, Inc. moves to dismiss this patent infringement action pursuant

    to Fed. R. Civ. P. 12(b)(6) because Plaintiff Rothschild Broadcast Distribution Systems,

    LLC has failed to state a claim upon which relief can be granted.1 Specifically, the claims

    of the asserted patent, U.S. Patent No. 8,856,221 (the “’221 Patent”), are invalid under 35

    U.S.C. § 101 because they are drawn to patent-ineligible subject matter, the abstract idea

    of storing and delivering media content.

                The ’221 Patent, entitled “System and Method for Storing Broadcast Content in a

    Cloud-Based Computing Environment,” generally describes a process in which one

    receives a request for media content (for example, a video), determines whether the video

    is available, and, if so, delivers it to the person who requested it. This rote inventory

    checking, retrieval, and delivery procedure describes nothing beyond an abstract idea and

    could be performed by any video rental store employee who, at a customer’s request,

    checks whether a particular video is in stock and, if so, provides it to the customer.

                This is an everyday process of the retail world, applicable to any business that sells

    some kind of good, whether tangible or digital. One receives a request, confirms

    availability of the product or acquires it, and arranges for delivery. The ’221 Patent’s

    effort to computerize this everyday retail process falls far short of adding an inventive

    concept that would set any meaningful bounds on the claims.

                To police against improper patents, the Supreme Court mandates a two-step




    1
      VUDU acknowledges that Vimeo filed a Motion to Dismiss on similar grounds. See
    6:15-cv-00232, Dkt. No. 10. VUDU joins in that motion and makes the additional points
    raised here.

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    analysis for patent eligibility.2 First, a court evaluates whether the patent is drawn merely

    to an abstract idea. Second, the court determines if the patent’s claims contain any

    inventive step that takes the patent outside the realm of the abstract. Patents covering far

    more sophisticated business methods have been declared invalid by the Supreme Court,

    the Federal Circuit, and this Court. See, e.g., Alice Corp. v. CLS Bank Int’l, 134 S. Ct.

    2347, 2352 (2014) (invalidating patent covering abstract idea of computerized settlement

    intermediation); Ultramercial, LLC v. Hulu, LLC, 772 F.3d 709, 711-12 (Fed. Cir. 2014)

    (invalidating patent covering abstract idea for ad-supported media delivery system); Clear

    With Computers, LLC v. Altec Indus., Inc., No. 6:14-cv-79, 2015 WL 993392, at *1, *4

    (E.D. Tex. Mar. 3, 2015) (“Clear with Computers II”) (Gilstrap, J.) (invalidating patent

    involving “abstract idea of creating a customized sales proposal for a customer”); Loyalty

    Conversion Sys. Corp. v. Am. Airlines, Inc., No. 2:13-CV-655, 2014 WL 4364848, at *7,

    *14 (E.D. Tex. Sept. 3, 2014) (Bryson, J., sitting by designation) (invalidating patent that

    set forth “the general concept of currency exchange, as applied to loyalty awards”); Clear

    with Computers, LLC v. Dick’s Sporting Goods, Inc., 21 F. Supp. 3d 758, 761, 765 (E.D.

    Tex. 2014) (Davis, J.) (“Clear with Computers I”)3 (invalidating patent involving “abstract

    idea of inventory-based selling”).

                The ’221 Patent’s claims are drawn to an abstract idea, and there is no inventive

    element that can save the patent from invalidity under 35 U.S.C. § 101. Accordingly, this

    Court should dismiss Plaintiff’s complaint for failure to state a claim.




    2
        See Alice Corp. Pty. Ltd. v. CLS Bank Int'l, 134 S. Ct. 2347, 2357 (U.S. 2014).
    3
     Clear with Computers I was decided before Alice and Ultramercial, but anticipates the
    analytical framework used in both cases.

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    II.         STATEMENT OF THE ISSUE

                Whether the ’221 Patent’s claims—for systems and methods for storing and

    delivering media content—are directed to an abstract idea, fail to contain an inventive step

    and are therefore, ineligible for a patent under 35 U.S.C. § 101.

    III.        BACKGROUND

                A.      Plaintiff’s Complaint

                On March 19, 2015, Plaintiff filed its complaint for patent infringement against

    VUDU. Separately, Plaintiff filed similar suits in this Court against nine other companies,

    asserting the same patent.4 All ten cases have been assigned to Judge Schroeder. No case

    management order has issued in any of the cases.

                Plaintiff claims to own or have the right to enforce the ’221 Patent. Compl., Dkt.

    No. 1 ¶ 7. Plaintiff asserts the ’221 Patent’s claims relate to a “‘system for media content

    storage and delivery’ comprising a variety of features” and a “‘method for storing media

    content and delivering requested media content to a consumer device.’” Id. ¶¶ 10, 12

    (quoting ‘221 Patent, claims 1 and 7). Plaintiff further asserts VUDU’s systems “are ‘a

    system for media content storage and delivery’” and VUDU “practices a ‘method for

    storing media content and delivering requested media content to a consumer device.’” Id.

    ¶¶ 11, 13 (quoting ’221 Patent, claims 1 and 7).

    4
      These cases are: Rothschild Broadcast Distribution Systems, LLC v. Comcast Corp.,
    6:15-cv-226; Rothschild Broadcast Distribution Systems, LLC v. Discovery
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    NGC Networks US, LLC, 6:15-cv-228; Rothschild Broadcast Distribution Systems, LLC v.
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    Inc., 6:15-cv-233; Rothschild Broadcast Distribution Systems, LLC v. Wistia, Inc., 6:15-
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                B.      The ’221 Patent

                The ’221 Patent issued on October 7, 2014 and was initially assigned to its

    inventor, Leigh M. Rothschild. Compl., Dkt No. 1, ¶ 7. The ’221 Patent claims priority to

    a provisional application filed on August 29, 2011. ’221 Patent 1:8-17. The ’221 Patent’s

    abstract states that the patent covers “[a] system, method and device for media content

    storage and delivery,” and that the invention relates to the field of “on-demand storage and

    delivery of media content.” Id. 1:25-27.

                The “background” section of the ’221 specification states “[t]he widespread

    growth of communication networks and internet enabled consumer devices allow

    consumers to stream on-demand videos and music.” Id. 1:31-33. The specification

    continues:

                        The on-demand video and music service is typically
                        provided by large companies or second party distributors
                        that store the media content for streaming to the consumer
                        devices. For example, a television company may maintain a
                        television server that stores all television shows that are
                        broadcast by the television company such that the consumer
                        may stream the stored television show on the consumer
                        device. This requires the television company to store all or
                        substantially all the shows broadcast by the television
                        company, which requires a great deal of data storage and
                        often comes at a significant cost to the television company.
    Id. 1:33-44.

                According to the specification, the innovation suggested by the ’221 Patent is a

    system or method by which a broadcaster could store content most frequently requested by

    consumers on a “broadcast server” while keeping its entire programming catalog on a

    “remote server” (where, presumably, it costs less to store content). Id. 3:47-49. If a

    consumer requests content that is already on the broadcast server, the system can deliver

    the content immediately. If the consumer requests content that is only on the remote


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    server, the system can put the content in a queue for release to the broadcast server for

    delivery to the consumer. However the issued claims, which control here, are not so

    limited, and broadly suggest an even more abstract concept—a system “configured to

    receive a request” for “storage” or “delivery” of “media content” that is “further

    configure[d] to initiate delivery of the requested media content to the consumer device.”

    See, e.g., id. 10:44-67.

                The ’221 Patent has 13 claims—two of which are independent claims (claims 1

    and 7). Both independent claims are directed to the same general idea of, upon a

    consumer’s request, checking to see whether an item of media content is available, and

    both claims feature nearly identical limitations (as italicized):

    1. A system for media content storage and          7. A method for storing media content and
    delivery, the system comprising:                   delivering requested media content to a
                                                       consumer device, the method comprising:
      a first server, the first server including:
        a first receiver, the first receiver               receiving a request message including
        configured to receive a request message            media data indicating requested media
        including media data indicating                    content and a consumer device identifier
        requested media content and a                      corresponding to the consumer device;
        consumer device identifier
        corresponding to a consumer device;
        and
        a first processor in communication with            determining whether the consumer
        the first receiver, the first processor            device identifier corresponds to a
        configured to determine whether the                registered consumer device; and
        consumer device identifier corresponds
        to a registered consumer device;
        if the first processor determines that the         if it is determined that the consumer
        consumer device identifier corresponds             device identifier corresponds to the
        to the registered consumer device, then:           registered consumer device, then:

           the first processor is further configured        determining, whether the request
           to determine whether the request                 message is one of a storage request
           message is one of a storage request              message and a content request
           message and a content request                    message; and
           message;
         if the request message is the storage             if the request message is the storage

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          request message, then the processor is                 request message, then determining
          further configured to determine whether                whether the requested media content is
          the requested media content is available               available for storage; and
          for storage; and
          if the request message is the content                  if the request message is the content
          request message, then the processor is                 request message, then initiating delivery
          further configured to initiate delivery of             of the requested media content to the
          the requested media content to the                     consumer device;
          consumer device;
          wherein the media data includes time                   wherein the media data includes time
          data that indicates a length of time to                data that indicates a length of time to
          store the requested media content; and                 store the requested media content; and
          the first processor is further configured              the first processor is further configured
          to determine whether the requested                     to determine whether the requested
          media content exists; and                              media content exists; and
          if the processor determines that the                   if the processor determines that the
          requested media content exists, the                    requested media content exists, the
          processor is further configured to                     processor is further configured to
          determine whether the requested media                  determine whether the requested media
          content is available and whether there                 content is available and whether there
          are restrictions associated with the                   are restrictions associated with the
          requested media content that prevent                   requested media content that prevent the
          the requested media content from being                 requested media content from being
          delivered to the consumer device.                      delivered to the consumer device.

                 The 11 dependent claims (claims 2-6, 8-13) add insubstantial limitations to the

     corresponding independent claims 1 and 7:

                         •   Providing a message confirming that requested media content is available

                             for storage (claims 2, 8).

                         •   Providing a message prompting a user to register a consumer device

                             (claim 3).

                         •   Providing memory to store consumer user data including consumer device

                             data (claims 4, 9).

                         •   Verifying that a consumer device identifier is associated with a particular

                             consumer (claims 5, 11).

                         •   Transmitting requested media content after verifying that a consumer

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                             device identifier corresponds to a registered consumer device (claim 6).

                         •   Informing the consumer of the cost of the requested media content (claim

                             12) and doing the same where the cost does not vary based upon the

                             number of times the content is delivered (claim 13).

                 The ’221 Patent reflects no invention of any new software or hardware. Instead,

     the claimed systems and methods operate with well-known computer components. The

     patent states the purported invention can be put into practice using “[a]ny kind of

     computing system,” and “[a] typical combination of hardware and software could be a

     specialized or general purpose computer system.” Id. 10:12-19.

                 A consumer device “may include wired or wireless devices such as mobile phones,

     personal digital assistant devices, personal computers, laptop computers, tablet computers,

     digital video recorders, televisions, digital versatile disc players, among other devices that

     may communicate via network.” Id. 3:56-60. The processors may include a “central

     processing unit (CPU) for executing computer program instructions stored in memory, as

     is well known in the art.” Id. 3:65-67. “Memory may include non-volatile and volatile

     memory.” Id. 4:1-3. Non-volatile memory “may include a hard drive, memory stick,

     flash memory and the like,” and “volatile memory may include random access memory

     and others known in the art.” Id. 3:3-5. The various items of hardware communicate “via

     network using communication protocols known in the art, e.g., Internet Protocol.” Id.

     3:50-52.

     IV.         LEGAL STANDARDS

                 To survive a Rule 12(b)(6) motion, a complaint “must provide the plaintiff’s

     grounds for entitlement to relief, including factual allegations that when assumed to be


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     true raise a right to relief above the speculative level.” Cuvillier v. Sullivan, 503 F.3d 397,

     401 (5th Cir. 2007) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007))

     (internal quotation marks omitted). In deciding a Rule 12(b)(6) motion, courts may

     consider facts alleged in the complaint as well as documents attached to or incorporated

     into the complaint. See Lovelace v. Software Spectrum, 78 F.3d 1015, 1017 (5th Cir.

     1996). Although factual allegations are taken as true, this principle “is inapplicable to

     legal conclusions.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).

                 Whether a patent is drawn to patentable subject matter is an appropriate issue for a

     motion to dismiss. “Failure to recite statutory subject matter is the sort of ‘basic

     deficiency,’ that can, and should, ‘be exposed at the point of minimum expenditure of

     time and money by the parties and the court.’” Oip Techs. v. Amazon, No. 2012-1696,

     2015 WL 3622181, at *4 (Fed. Cir. June 11, 2015) (quoting Twombly, 550 U.S. at 558)

     (Mayer, J., concurring) (emphasis added). “Addressing 35 U.S.C. § 101 at the outset not

     only conserves scarce judicial resources and spares litigants the staggering costs

     associated with discovery and protracted claim construction litigation, it also works to

     stem the tide of vexatious suits brought by the owners of vague and overbroad business

     method patents.” Id. Thus, district courts should adhere “to the Supreme Court’s

     instruction that patent eligibility is a ‘threshold’ issue, by resolving it at the first

     opportunity.” Id. (citing Bilski v. Kappos, 561 U.S. 593, 602 (2010)); see also

     Ultramercial, 772 F.3d at 711-12 (“[W]e conclude that the ’545 patent does not claim

     patent-eligible subject matter and accordingly affirm the district court’s grant of

     WildTangent’s motion to dismiss.”); Clear with Computers II, 2015 WL 993392, at *1

     (granting Rule 12(b)(6) motion to dismiss based upon patent ineligibility under Section


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     101); Uniloc USA, Inc. v. Rackspace Hosting, Inc., 18 F. Supp. 3d 831, 833 (E.D. Tex.

     2013) (same).

                 The Supreme Court has articulated a two-step framework for determining

     patentable subject matter. See Alice, 134 S. Ct. at 2355. First, a court must “determine

     whether the claims at issue are directed to one of those patent-ineligible concepts,” such as

     an abstract idea. Id. For example in Alice, the Court concluded the concept of

     “intermediated settlement” is a fundamental economic practice that falls “squarely within

     the realm of ‘abstract ideas.’” Id. at 2357. Second, if the claims are so directed, the court

     must then consider “the elements of each claim both individually and ‘as an ordered

     combination’ to determine whether the additional elements ‘transform the nature of the

     claim’ into a patent-eligible application.” Id. at 2350 (quoting Mayo Collaborative Servs.

     v. Prometheus Labs., Inc., 132 S. Ct. 1289, 1297 (U.S. 2012). This second step searches

     for an “‘inventive concept’—i.e., an element or combination of elements that is ‘sufficient

     to ensure that the patent in practice amounts to significantly more than a patent upon the

     [ineligible concept] itself.’” Id. at 2355 (alteration in original) (quoting Mayo, 132 S. Ct.

     at 1294). In other words, “if a patent merely implement[s] an abstract idea on a computer,

     that addition cannot impart patent eligibility.” Id. at 2358 (citation, alterations, and

     internal quotation marks omitted). “[T]he mere recitation of a generic computer cannot

     transform a patent-ineligible abstract idea into a patent-eligible invention.” Id. at 2358.

     As shown below, the ‘221 Patent fails both steps of this test.

                 Moreover, in deciding patentability, a court need not review all claims, but only

     those that are representative of the claimed invention as a whole. See Ultramercial, 772

     F.3d at 712 (reviewing only claim 1 as “representative” and noting that “the other claims


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     of the patent are drawn to a similar process” and therefore “suffer from the same infirmity

     as claim 1 and need not be considered further”). Further, “claim construction is not an

     inviolable prerequisite to a validity determination under § 101.” Bancorp Services, LLC v.

     Sun Life Assur. Co. of Canada, 687 F.3d 1266, 1273-74 (Fed. Cir. 2012); see also

     Ultramercial, 772 F.3d at 713-14 (noting the “district court granted WildTangent’s pre-

     answer motion to dismiss under Rule 12(b)(6) without formally construing the claims”

     and examining patentability “[w]ithout purporting to construe the claims”); Clear with

     Computers II, 2015 WL 993392, at *3 (“[T]he particular facts of this case indicate that

     claim construction is unnecessary.”); Genetic Techs. Ltd. v. Lab. Corp. of Am. Holdings.,

     No. 1201736-LPS-CJB, 2014 WL 4379587, at *1 (D. Del. Sept. 3, 2014) (deciding

     Section 101 motion prior to claim construction is appropriate where no disputed areas of

     fact are relevant to motion).

                 Here, as in Clear with Computers II, this Court can invalidate the asserted patent

     without claim construction because “the claim language is relatively simple.” Clear with

     Computers II, 2015 WL 993392, at *3.

     V.          ARGUMENT

                 A.      The ’221 Patent Is Not Directed to Patent-Eligible Subject Matter

                 The Supreme Court has strongly signaled that federal courts should root out

     patents unworthy of the limited monopoly conferred by the patent laws, including so-

     called business-method patents that purport to cover basic practices in the commercial

     marketplace. This began with Bilski, where the Court held a patent directed to a “method

     for hedging against the financial risk of price fluctuations” was invalid for claiming an

     abstract idea—namely the “fundamental economic practice” of hedging. Alice, 134 S. Ct.


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     at 2355-56 (citing Bilski v. Kappos, 561 U.S. 593, 611 (2010)). The patent in this case is

     directed to an abstract idea and contains no steps sufficient to confer patent eligibility.

                         1.     The ’221 Patent Is Directed to an Abstract Idea

                 District courts, including this Court, have invalidated patents in early stages of

     litigation, based on this guidance.5 In Clear with Computers I, the patent claimed a

     method with the following steps: “(1) receiving a product query, (2) determining the

     availability of products and associated options in inventory, (3) preparing a list of

     available options, and (4) presenting the list.” Clear with Computers I, 21 F. Supp. 3d at

     765. Judge Davis found (1) the patent “involves the abstract idea of inventory-based


     5
       See, e.g., OpenTV, Inc. v. Apple, Inc., No. 14-cv-01622-HSG, 2015 WL 1535328, at *4
     (N.D. Cal. Apr. 6, 2015) (patent claiming “use of identification codes to organize and
     transmit confidential information” held drawn to abstract idea); Advanced Auctions, LLC
     v. eBay Inc., No. 13CV1612 BEN (JLB), 2015 WL 1415265, at *5 (S.D. Cal. Mar. 27,
     2015) (“The patent itself describes implementing an existing abstract idea—an auction—
     refined for implementation on the Internet.”); Tenon & Groove, LLC v. Plusgrade S.E.C.,
     No. 12-1118-GMS-SRF, 2015 WL 1133213, at *2 (D. Del. Mar. 11, 2015) (“computer-
     implemented method for concurrent optimization of value in a transaction between at least
     two entities” held an abstract idea); Essociate v. Clickbooth.com, LLC, No. SACV 13–
     01886–JVS (DFMx), 2015 WL 1428919, at *5 (C.D. Cal. Feb. 11, 2015) (“steps for how a
     merchant can gain access to customers from a referring entity without having to compete
     with other merchants for those same customers” held merely to describe abstract idea); In
     re TLI Commc’ns LLC Patent Litig., MDL No. 1:14md2534, 2015 WL 627858, at *8
     (E.D. Va. Feb. 6, 2015) (“[T]he ’295 patent claims at issue are clearly directed to the
     abstract idea of taking, organizing, classifying, and storing photographs.”); Open Text S.A.
     v. Box, Inc., No. 13–cv–04910–JD, 2015 WL 269036, at *3 (N.D. Cal. Jan. 20, 2015)
     (“Shorn of its implementation-specific fleece, the claim is directed at providing a method
     for people to collaborate and share information without the need for specialized software
     or expertise.”); Synopsys v. Mentor Graphics Corp., No. C 12–6467 MMC, 2015 WL
     269116, at *3 (N.D. Cal. Jan. 20, 2015) (“[T]he asserted claims are directed to the process
     of interference, which is fundamental to IC design and can be performed mentally.”);
     Bascom Research, LLC v. LinkedIn, Inc., No. 12–cv–06293–SI, 2015 WL 149480, at *8
     (N.D. Cal. Jan. 5, 2015) (patent described “abstract idea of creating, storing and using
     relationships between objects”); Morales v. Square, Inc., No. 5:13–cv–1092–DAE, 2014
     WL 7396568, at *7 (W.D. Tex. Dec. 30, 2014) (“Claim 6 of the ’589 patent encompasses
     an abstract idea because it describes the fundamental concept of relaying a signal
     containing the sender’s identity.”).

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     selling,” and (2) the patent’s use of a “computer system with a configuration engine” did

     not meaningfully limit the claims as the steps “can be performed entirely by a human,

     mentally or with pencil and paper.” Clear with Computers I, 21 F. Supp. 3d at 765.

                 Similarly, in Clear with Computers II, the patent claimed a “computer-

     implemented method to (1) present questions to, and receive answers from, a customer

     regarding products for sale; (2) based on at least one answer, select a picture of the

     product, a picture of the product environment, and a textual product description; and (3)

     put the pictures and text into a single visual output as part of a customized proposal for

     sale.” Clear with Computers II, 2015 WL 993392, at *4. Judge Gilstrap found (1) the

     patent was drawn to the “abstract idea of creating a customized sales proposal for a

     customer,” and (2) the computerization of the patent’s steps added nothing because “[t]he

     steps performed by the claimed computer elements are functional in nature and could

     easily be performed by a human.” Id.

                 The ’221 Patent is similar in that it attempts to claim an abstract idea implemented

     with generic computer components that could easily be done by a person. At its most

     fundamental level, the patent describes a method and system for storing and delivering

     media content. Plaintiff itself concedes the abstract nature of the ’221 Patent’s claims

     when it alleges the claims are drawn to (1) a “system for media content storage and

     delivery” and a “method for storing media content and delivering requested media content

     to a consumer device.” Comp., Dkt No. 1, ¶ 12; see also ’221 Patent, abstract (“A system,

     method, and device for media content storage and delivery.”).

                 Independent claims 1 and 7, which are representative of the claimed invention,

     recite the following steps:


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                 •       Receiving messages from consumers requesting content;

                 •       Confirming that the consumer is using a registered consumer device;

                 •       Determining whether the consumer has sent a request for immediate delivery

                         or for storage;

                 •       Determining whether the requested content is available for either immediate

                         delivery or storage;

                 •       Checking whether there are restrictions on delivery to the consumer device;

                         and

                 •       Delivering the content if available.

                 These steps describe, at a high level of generality, a process for receiving a

     consumer request for an item, reviewing the request to determine whether it contains

     certain information, and delivering the requested item. This claims nothing more than the

     ubiquitous business practice of checking one’s inventory to see if an item requested by a

     customer is in stock.6 None of this is unique to online media; indeed, these familiar

     practices are integral to every business that sells goods, whether digital or physical.7 See,

     e.g., Clear with Computers I, 21 F. Supp. 3d at 765 (concept of “selling goods from

     inventory” is an abstract business idea).

                 The generic inventory-checking process claimed by Plaintiff is at least as abstract,

     6
      Similarly, the dependent claims mimic commonplace and common-sense business
     practices like telling a customer if an item is available or what its price is. See ’221
     patent, claims 2, 8, 12.
     7
       It is not necessary at this step to determine whether the patent claims anything that
     departs from traditional business methods. See Ultramercial, 772 F.3d at 715 (“We do not
     agree with Ultramercial that the addition of merely novel or non-routine components to
     the claimed idea necessarily turns an abstraction into something concrete. In any event,
     any novelty in implementation of the idea is a factor to be considered only in the second
     step of the Alice analysis.”).

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     if not more so than claims that have been held invalid in other cases. See, e.g.,

     Ultramercial, 772 F.3d at 712 (finding abstract and invalidating a patent claiming “a

     method for distributing copyrighted media products over the Internet where the consumer

     receives a copyrighted media product at no cost in exchange for viewing an advertisement,

     and the advertiser pays for the copyrighted content”).

                 Tellingly, in this case, all the steps of the ’221 Patent8 could be performed by a

     video rental store clerk:


                  Claim 7 Language                               As Performed by a Human
     7. A method for storing media content and           A clerk at a video rental store:
     delivering requested media content to a
     consumer device, the method comprising:
      receiving a request message including              Accepts requests from customers for
      media data indicating requested media              videos, wherein the requests contain certain
      content and a consumer device identifier           information including the title of the video,
      corresponding to the consumer device;              how long the customer wants to retain it, at
                                                         the same time as an identifier for the
                                                         customer (e.g., the video rental store’s
                                                         membership card).9
         determining whether the consumer device         Checks the customer’s membership card
         identifier corresponds to a registered          against a list of approved members without
         consumer device; and                            any late fees.
         if it is determined that the consumer           If the clerk determines that the customer is
         device identifier corresponds to the            on the list of approved members, then the
         registered consumer device, then:               clerk will determine whether the customer
                                                         is asking for a video that is available for
          determining, whether the request               rental now or to back-order a video that
          message is one of a storage request            isn’t on the shelves.

     8
       For simplicity, only the method claim is analyzed here, but the analysis for the
     corresponding system claim would yield the same result. Also, the corresponding system
     claim is linked to and falls with the method claim. To allow the system claim, while
     invalidating the method claim, would permit applicants to preempt abstract ideas by the
     mere use of patent-drafting conventions. See Alice, 134 S. Ct. at 2360 (“This Court has
     long warn[ed] . . . against interpreting § 101 in ways that make patent eligibility depend
     simply on the draftsman’s art.” (quoting Mayo, 132 S. Ct. at 1289) (quotations omitted)).
     9
       For the purposes of a Section 101 inquiry, checking to see whether a consumer is using a
     registered device (as the claim requires) is an idea at the same level of abstraction as
     checking to see whether a consumer has a membership.

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                   Claim 7 Language                           As Performed by a Human
         message and a content request message;
         and
       if the request message is the storage          If the customer wants to back-order a video,
       request message, then determining              the clerk will check a list of videos from the
       whether the requested media content is         company’s warehouse to see if the video
       available for storage; and                     can be back-ordered.
       if the request message is the content          If the customer wants a video that is in
       request message, then initiating delivery      stock, then the clerk will give the video to
       of the requested media content to the          the customer for rental.
       consumer device;
       wherein the media data includes time data    The clerk is able to receive information
       that indicates a length of time to store the from customers about how long they would
       requested media content; and                 like the store to stock the video before
                                                    returning it to the warehouse.
       the first processor is further configured to The clerk checks the shelves of the store
       determine whether the requested media        and the list of warehoused videos to see if
       content exists; and                          the video rental store has the video
                                                    anywhere.
       if the processor determines that the         If the clerk sees that the video rental store
       requested media content exists, the          has the video somewhere, the clerk will
       processor is further configured to           determine whether the video is available
       determine whether the requested media        and whether there are any restrictions on
       content is available and whether there are the membership that would preclude the
       restrictions associated with the requested   rental of the video to the customer (e.g., no
       media content that prevent the requested     restricted movies for members under 17; no
       media content from being delivered to the rentals to customers who have not paid late
       consumer device.                             fees).
              That a human being can perform all of the claim limitations confirms that the ’221

     claims are drawn to an abstract idea. See, e.g., Clear with Computers I, 21 F. Supp. 3d at

     767 (“[A] store clerk, armed with only a pencil and paper, can receive a question about

     men’s basketball sneakers, determine the options available (color, brand, size, etc.) and the

     availability of those options in inventory, prepare a list of those available options, and

     present that list to the customer.”); Clear with Computers II, 2015 WL 993392, at *4

     (“The claims essentially propose that, instead of a human salesman asking customers

     about their preferences and then creating a brochure from a binder of product pictures and

     text and using a rolodex to store customer information, a generic computer can perform

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     those functions.”); OpenTV, Inc. v. Apple, Inc., No. 14-cv-01622-HSG, 2015 WL

     1535328, at *4 (N.D. Cal. Apr. 6, 2015) (considering whether claims can be “performed in

     the human mind[] or by a human using pen and paper” when determining whether claims

     are directed to abstract ideas) (quoting CyberSource Corp. v. Retail Decisions, Inc., 654

     F.3d 1366, 1372 (Fed. Cir. 2011)).

                 Accordingly, the claims of the ’221 Patent are directed to an abstract idea—the

     idea of storing and delivering media content—and are not patentable.

                         2.     The ’221 Patent’s Claims Supply No Inventive Step That Would
                                Make Them Patent-Eligible

                 As detailed earlier, the ’221 claims are drawn to the abstract idea of storing and

     delivering media content—the equivalent of checking to see if a video is available for a

     customer. The claim language does not “do significantly more than simply describe that

     abstract method.” Ultramercial, 772 F.3d at 715. The claim elements do not, individually

     or in combination, require anything but a general-purpose computer to perform the various

     steps and “add nothing of practical significance to the underlying abstract idea.” Id. at

     716.

                 Individually, each step of the claims of the ’221 Patent merely describes a

     component of the abstract idea—for example, checking to see if content is available—with

     the instruction that the step be performed by a generic computer. But “adding the words

     ‘apply it with a computer’ simply combines those two steps, with the same deficient

     result.” Alice, 134 S. Ct. at 2350; Ultramercial, 772 F.3d at 715 (claims that “simply

     instruct the practitioner to implement the abstract idea with routine, conventional activity”

     held invalid).

                 The ’221 Patent’s computerized steps—receiving input (receiving the consumer

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     request for media content), sorting information (determining whether the request is one for

     media content or media storage), checking information against a list or database

     (determining whether a consumer device identifier is linked to a registered consumer

     device), and providing output (delivering requested media content to a consumer)—all

     describe well-known computer functions. See Alice, 134 S. Ct. at 2359 (using a computer

     to “obtain data, adjust account balances, and issue automated instructions” all involve

     “well-understood, routine, conventional activities previously known to the industry”);

     Ultramercial, 772 F.3d at 716 (“[R]outine additional steps such as updating an activity

     log, requiring a request from the consumer to view the ad, restrictions on public access,

     and use of the Internet does not transform an otherwise abstract idea into patent-eligible

     subject matter.”); buySAFE, Inc. v. Google, Inc., 765 F.3d 1350, 1355 (Fed. Cir. 2014)

     (“The computer functionality is generic—indeed, quite limited: a computer receives a

     request for a guarantee and transmits an offer of guarantee in return.”); Content Extraction

     & Transmission LLC v. Wells Fargo Bank, N.A., 776 F.3d 1343, 1349 (Fed. Cir. 2014)

     (“[D]etecting the presence of a particular one of said defined set of symbols on a hard

     copy document” merely described “generic optical character recognition technology.”);

     CyberSource Corp., 654 F.3d at 1370 (holding “mere collection and organization of data”

     insufficient). Consequently, all of the computer components listed by the ’221 claims are

     “purely functional and generic.” Alice, 134 S. Ct. at 2360 (“Nearly every computer will

     include a ‘communications controller’ and ‘data storage unit’ capable of performing the

     basic calculation, storage, and transmission functions required by the method claims.”).10

     10
       The ’221 Patent itself confirms that the claimed invention can be realized using “[a]ny
     kind of computing system” and that a “typical” implementation will not require anything
     more than a “general purpose computer system.” ’221 Patent, 10:12-19 (emphases
     added). Further, because the ’221 claims are “not tied to any particular novel machine or
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                 Nor does the ordered combination of the steps of the ’221 Patent add anything

     because their sequence—“obtaining, separating, and then sending information”—

     “follow[s] from the underlying idea of categorical information storage [and delivery].”

     Cyberfone Sys., LLC v. CNN Interactive Grp., Inc., 558 Fed. App’x 988, 993 (Fed. Cir.

     2014). Indeed, there is no way to logically perform the invention other than in the

     sequence recited in its claims: one obviously must receive a consumer request for an item

     before checking to see if it is available, and one must check availability before delivering

     the item.

                 Finally, the ’221 Patent’s purported limitation to online media places no

     meaningful limitation on its abstract idea. The ’221 claims merely invoke the Internet and

     on-demand media generally to take advantage of “[t]he widespread growth of

     communication networks and internet enabled consumer devices allow[ing] consumers to

     stream on-demand videos and music.” ’221 Patent 1:31-33. Any such attempt to limit the

     covered systems to a “particular technological environment” is insufficient to confer

     patentability. Alice, 134 S. Ct. at 2350; Ultramercial, 772 F.3d at 716 (“[T]he use of the

     Internet is not sufficient to save otherwise abstract claims from ineligibility.”); buySAFE,

     765 F.3d at 1355 (“That a computer receives and sends the information over a network—

     with no further specification—is not even arguably inventive.”). Moreover, as the patent

     itself acknowledges, on-demand streaming via the Internet was widespread long before the

     patent. See ’221 Patent 1:31-2:16.

                 Unlike in DDR Holdings, LLC v. Hotels.com, L.P., the claims at issue here

     apparatus, [but] only a general purpose computer,” they also fail the Federal Circuit’s pre-
     Alice machine-or-transformation test. See Ultramercial, 772 F.3d at 716. While passing
     this test is no longer conclusive, failing it confirms that a patent is directed to unpatentable
     subject matter. See id. at 717.

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     “merely recite the performance of some business practice known from the pre-Internet

     world along with the requirement to perform it on the Internet.” DDR Holdings, LLC v.

     Hotels.com, L.P., 773 F.3d 1245, 1257 (Fed. Cir. 2014). The Federal Circuit cautioned

     that “not all claims purporting to address Internet-centric challenges are eligible for

     patent.” Id. at 1258. As noted in the video store example, the ’221 Patent recites the

     performance of renting a video from a video store, but simply performs it on the internet.

     The ’221 Patent seeks to solve the same problem video stores had already solved prior to

     the Internet: how to deliver the video to the consumer even when the video is not on site.

     In Messaging Gateway, the Court found that the claims at issue manipulated an interaction

     between a mobile phone and a computer “in order to achieve a desired result which

     overrides conventional practice.” Messaging Gateway Solutions, LLC v. Amdocs, Inc.,

     No. 14-732-RGA, 2015 WL 1744343, at *5 (N.D. Cal. Dec. 16, 2014). In contrast, the

     claims here merely convert the conventional practice of video store rentals to a digital

     form involving computers without manipulating the process in any way.

                 In sum, the ’221 Patent’s claims add “no meaningful limitations to convert the

     abstract idea into patent-eligible subject matter.” Ultramercial, 772 F.3d at 714.

     VI.         CONCLUSION

                 The claims of the asserted ’221 Patent are directed to an abstract idea storing and

     delivering media content, a practice that existed long before computers and the Internet.

     As such, they are ineligible for patent protection under 35 U.S.C. § 101 and VUDU

     respectfully requests this Court dismiss Plaintiff’s complaint for patent infringement with

     prejudice.




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     Dated:         June 12, 2015               Respectfully submitted,

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                                      CERTIFICATE OF SERVICE


                 I hereby certify that counsel of record who are deemed to have consented to

     electronic service are being served on June 12, 2015, with a copy of this document via the

     Court's CM/ECF system per Local Rule CV-5(a)(3). Any other counsel of record will be

     served by First Class U.S. Mail on this same date.

                                                        /s/ Bijal V. Vakil
                                                        Bijal V. Vakil




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